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     Counsel for Plaintiffs
14
                            IN THE UNITED STATES DISTRICT COURT
15                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
16

17   PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-05146-YGR-SVK
     themselves and all others similarly situated,
18                                                   ADMINISTRATIVE MOTION TO FILE
            Plaintiffs,                              UNDER SEAL EXHIBITS 1 AND 2 TO
19                                                   APRIL 15, 2022 DECLARATION OF DAVID
            v.                                       STRAITE (DKT. NO. 621-4) IN SUPPORT
20                                                   OF PLAINTIFFS’ OBJECTIONS TO (AND
     GOOGLE LLC,                                     MOTION TO MODIFY) THE SPECIAL
21                                                   MASTER’S SEALED
            Defendant.                               RECOMMENDATIONS AND ORDER
22                                                   DATED APRIL 4, 2022 (DKT. NO. 604)
23                                                   CIVIL L.R. 79-5
24                                                   Judge: Hon. Yvonne Gonzalez Rogers
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 1          Pursuant to Civil Local Rules 7-11 and 79-5 and the Stipulated Protective Order entered in
 2   this matter, Dkt. No. 61, and pursuant to the Court’s instructions at Dkt. No. 629, Plaintiffs
 3   respectfully submit this Administrative Motion to Seal the following documents:
 4         Document                            Text Sought to be Sealed          Evidence Offered in
 5                                                                               Support of Sealing
           Exhibit 1 to the April 15, 2022     Entire document                   Defendant to provide
      1    Declaration of David Straite                                          evidence, per Local Rule
 6
           (Dkt. No. 621-4) in Support of                                        79-5(f)
 7         Plaintiffs’ Objections to (and
           Motion to Modify) the Special
 8
           Master’s Sealed
 9         Recommendations and Order
           Dated April 4, 2022 (Dkt. No.
10         604)
           Exhibit 2 to the April 15, 2022     Entire document                   Defendant to provide
11    2    Declaration of David Straite                                          evidence, per Local Rule
           (Dkt. No. 621-4) in Support of                                        79-5(f)
12
           Plaintiffs’ Objections to (and
13         Motion to Modify) the Special
           Master’s Sealed
14         Recommendations and Order
           Dated April 4, 2022 (Dkt. No.
15         604)
16

17          Paragraph 12.4 of the Stipulated Protective Order prohibits a party from filing materials
18   designated “Confidential” or “Highly Confidential – Attorneys’ Eyes Only” in the public record.
19   Portions of the documents listed above quote, summarize, or otherwise reflect information that
20   Defendant Google LLC has designated “Confidential” or “Highly Confidential – Attorneys’ Eyes
21   Only.” Pursuant to Civil Local Rules 79-5(c)(1) and (f)(3), Defendant, as the Designating Party,
22   bears the responsibility to establish that all of the designated material is sealable.
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     PLS. ADMIN. MOT. TO SEAL                           1            CASE NO. 5:20-CV-05146-YGR-SVK
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 1
     Dated: April 22, 2022                             Respectfully submitted,
 2
     BLEICHMAR FONTI & AULD LLP                        DICELLO LEVITT GUTZLER LLC
 3
     By: /s/ Lesley E. Weaver                          By:     /s/ David Straite
 4   Lesley Weaver (Cal. Bar No. 191305)               David A. Straite (admitted pro hac vice)
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     SIMMONS HANLY CONROY LLC
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     By:     /s/ Jay Barnes
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     PLS. ADMIN. MOT. TO SEAL                      2              CASE NO. 4:20-CV-05146-YGR-SVK
     Case 4:20-cv-05146-YGR           Document 630         Filed 04/22/22      Page 4 of 5



 1                 ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)
 2          I, Amy Keller, attest that concurrence in the filing of this document has been obtained from
 3   the other signatories. I declare under penalty of perjury that the foregoing is true and correct.
 4
     Dated: April 22, 2022                                 /s/ Amy E. Keller
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                                                           Amy E. Keller
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     ATTESTATION                                                    CASE NO. 4:20-CV-05146-YGR-SVK
     Case 4:20-cv-05146-YGR          Document 630        Filed 04/22/22      Page 5 of 5



 1                                   CERTIFICATE OF SERVICE
 2          I, Amy Keller, hereby certify that on April 22, 2022, I electronically filed the foregoing
 3   document with the Clerk of the United States District Court for the Northern District of California
 4   using the CM/ECF system, which will send electronic notification to all counsel of record. I also
 5   caused a copy of the under seal filings to be delivered to counsel for Defendant Google LLC via
 6   electronic mail.
 7
     Dated: April 22, 2022                               /s/ Amy E. Keller
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                                                         Amy E. Keller
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     CERTIFICATE OF SERVICE                                       CASE NO. 4:20-CV-05146-YGR-SVK
